   Case 2:10-md-02179-CJB-DPC Document 6529-1 Filed 05/17/12 Page 1 of 8




                               PROPOSAL
                                             BP
 PROVISION OF 3D LASER SCANNING SERVICES FOR
THE PHASE II BOP SCANS AT THE NASA FACILITY IN
              MICHOUD, LOUISIANA



REVISION            DATE               COMMENT                 FOR       REVIEWED
                                                              David E.
     0             5/04/2011            Proposal                         Kyle McNeil
                                                             Grassmick
                                                              David E.
     1             5/7/2012    Revised Project Synopsis                  Kyle McNeil
                                                             Grassmick




          Author                                      Shan Pehlman

         Approved                                    Steve Anderson




Project Quote No:       12078P Rev 1
      Case 2:10-md-02179-CJB-DPC Document 6529-1 Filed 05/17/12 Page 2 of 8




                       TABLE OF CONTENTS
1.0    INTRODUCTION________________________________________________________3

2.0    PROJECT SYNOPSIS ____________________________________________________4
  2.1.    SCHEDULE __________________________________________________________ 5
3.0    PRICING SCHEDULE ___________________________________________________6

4.0    EQUIPMENT LIST ______________________________________________________7

5.0    CLARIFICATIONS ______________________________________________________8
   Case 2:10-md-02179-CJB-DPC Document 6529-1 Filed 05/17/12 Page 3 of 8




       1.0     INTRODUCTION
               0B




This proposal is in response to a Request for Proposal (RFP) issued by Kirkland & Ellis LLP
requesting provision of 3D Laser Scanning to be provided at the NASA facility in Michaud,
Louisiana. This proposal has been based on preliminary information provided by David E.
Grassmick.


             Hi-Cad respectfully requests that this proposal be kept confidential.
   Case 2:10-md-02179-CJB-DPC Document 6529-1 Filed 05/17/12 Page 4 of 8




       2.0      PROJECT SYNOPSIS
                1B




Project Name: Damaged Riser Project

The project involves the as-built data collection of the BSR and CSR and upper annular in the
NASA Lay down Yard. Any alterations to the field work quoted herein can be reflected on a
Change Order.
Before Hi-Cad performs the laser scan, BP will arrange to have the Damaged BSR and CSR
Cleaned and the protective sealant removed.


For the laser scan, Hi-Cad will establish a local coordinate system and rotate the Data
Orthogonal for Possible modeling and demonstration purposes. Hi-Cad will need a four foot
clearance around the articles being scanned in order to perform a complete scan.




Deliverables:

   •   Hi Cad will document and provide a Laser scan dataset of the required surfaces as
       requested. Hi-Cad will capture all deformation possible.
   •   Hi-Cad will provide surface deformation charts compared to any provided design
       drawings.
   •   Hi-Cad will provide the laser scan dataset for integration within the LFM Viewer Lite
       application. All dimensioning and diameters will be extractable form the Viewer Lite
       application. Hi-Cad will provide generic PTX and .IGES files for review in other
       scan cloud software packages.
Case 2:10-md-02179-CJB-DPC Document 6529-1 Filed 05/17/12 Page 5 of 8




2.1.       SCHEDULE
           18B




Field 3D Laser Scanning (Primary Scope)                         2 days




Notes:
Grade Access – Scans performed from grade (ground) elevations that require no additional
requirements other than moving the scanner from location to location. Average Grade
Access scans are 40 per day – this includes only scans done at grade elevation.
Stair Access – Scans performed from grade (ground) elevations that require no additional
requirements other than moving the scanner from location to location. Average Stair Access
scans are 25 per day – this includes only scans done from stair accessible locations.
Lift Access – Scans done from a mechanical lift (scissor lift) which do not require physically
hoisting or lowering of the scan equipment. Average Lift Access scans are 15 per day – this
includes only scans done from a mechanical lift.
Ladder / Scaffold / Rope Access – Scans done from platforms which require lifting the scan
equipment physically with a rope. Average Ladder / Scaffold / Rope Access scans are 10 per
day – this includes only scans done from locations which can only be scanned via physically
hoisting the scanner with a rope.




Post Processing of Data                                         5 days
              Case 2:10-md-02179-CJB-DPC Document 6529-1 Filed 05/17/12 Page 6 of 8




                3.0    PRICING SCHEDULE
                       2B




        This price is subject to change depending if there is a scope change during the job that increases
        or decreases the scan count. This estimate is based on working: Mon-Sat 10 field hours and 2
        office hours per day (Totaling 12 hour days). The pricing below is based on the duration and
        complexity of this specific job.

Mobilization/Demobilization
                                  Hours     Manpower       Days                          Rate
Travel Time
                                                                                     Sub-Total      $         -
Safety Training
                                  Hours     Manpower       Days                          Rate
Safety Training Travel Time
Classroom Time
Course Cost                                                                           $     -
                                                                                     Sub-Total      $         -
Onsite Laser Scanning

                                                           Days                          Rate
Walkthrough & Initial Survey
Field Time
                                                                                     Sub-Total      $         -
Estimated Expenses (See Clarifications Section)
                              Surveyor Technician        Assistant Req'd # of Days     Cost Each     Costs + 10%
Flights                                                                                             $          -
Ground Transport                                                                                    $          -
Hotels                                                                                              $          -
Car / Gas                                                                                           $          -
Per Diem (Per Day)                                                                                  $          -
Shipping / Excess Baggage                                                                           $          -
Splitting Database                                                                                  $          -
Hard Drive - Client                                                                                 $          -
Hard Drive - Backup (Hi-Cad)                                                                        $          -
Data Storage                                                                                        $          -
                                                                                     Sub-Total      $          -

Grand Total Estimated Price                                                                         $         -

        Ground Transport includes but is not limited to: Taxis, Mass Transit, Pick-up/Drop-off
        Services and Reimbursement for Personal Automobile.
        If applicable: Software training does not include expenses.
        Post processing of data is included in the Field Rate shown above.
        Initial Survey as shown above refers to locating and establishing (tying into) a coordinate
        system for the Laser Scans to be registered to. Surveying for the individual scans is
        included in the Field Time as shown above.
   Case 2:10-md-02179-CJB-DPC Document 6529-1 Filed 05/17/12 Page 7 of 8




       4.0      EQUIPMENT LIST
                3B




       Laser Scanning Team
   •   3D Laser Scanner and tripod
   •   Total station
   •   Laptop computer
   •   Tripod
   •   Accessories
   •   Datum markers
   •   Small Hand Tools
   •   Safety PPE (Personnel Protective Equipment) conforming to all OSHA standards
       includes:
          •     Hard Hat
          •     Safety Glasses
          •     Goggles
          •     H2S Monitor
          •     Steel Toed Work Boots
          •     FRC (Fire Retardant Clothing) – Coveralls
          •     Hearing Protection (Foam Ear Plugs)
          •          Workman’s Gloves (Leather)


Equipment Description, Carrier Box dimensions and weights
   •   Laser Scanner – 22”L x 12” W x 30” H – 50 lbs. (hand-carry)
   •   Laser Scanner Accessories Box-22”L x 12” W x 30” H- 35Lbs.
   •   Scanner Tripod – 12”L x 13”W x 49”H – 70 lbs
   •   Scanner Job-Box – 45”L x 17”W x 32”H – 70 lbs
   •   Total Station – 18”L x 15”W x 11”H – 30 lbs (hand-carry)
   •   Tripod – 43”L x 8” diameter volume - 15 lbs
   •   Accessories including Datum markers, targets, glue, hammer, punch – hand carry
   •   Laptop computer – hand carry
Case 2:10-md-02179-CJB-DPC Document 6529-1 Filed 05/17/12 Page 8 of 8




    5.0       CLARIFICATIONS
              4B




•   Scan data can be moved/rotated at a charge of $100.00 per hour.
•   This is a Laser Scanning service proposal; this proposal does not include software.
•   All Survey Equipment (Total Station, Prisms, Laptop, etc) provided by Hi-Cad.
•   Hi-Cad will charge $90.00 an hour per person for all US based onshore field crews that
    are delayed due to owner’s restriction of vendor’s access to the facility for any reason and
    or inclement weather conditions.
•   Client will provide the equipment (scissor lift) and properly trained operator required to
    elevate the scanner when necessary.
•   Client will provide a qualified person to direct the Hi-Cad scan crew for the location of
    each scan for the duration of the field data collection.
•   Any Respiratory equipment required to be worn by Hi-Cad personnel will be provided by
    Client.
•   Standby/Safety Training/Drug Testing/Travel - $90.00 an hour per man
•   Expenses based on a minimum of one week notice and continuous work schedule from
    start of mobilization (working through the weekends).
•   Hi-Cad will be required to utilize the plant coordinate system; Client will provide a
    minimum of 3 verified survey monuments for plant grid alignment within reasonable
    proximity (100’ maximum) of the area to be scanned.
•   The data will be provided in electronic PDF format.
    Post Processing of data to include-
       •      Control survey calculation and reduction
       •      Individual scan registration against control survey network
       •      Construction of scan database for direct import into client CAD system
       •      Compilation of data books, pictures and field notes
•   NOTE: EXPENSES ARE BASED ON ESTIMATED PRICES ONLY – REAL AND
    ACTUAL EXPENSES PLUS 10% MARK-UP WILL BE INVOICED.
